2/11/21 Page 1 of 6 PagelD: 1

9: Mabe0Z/Pb/DU NGOS ay

United States District Court

Violation Notice

(Rev, 1/2020)

 

Location Code | Violation Number

 

TG) | E1117604 |R faye

Officer Nanna (Print)

2578

 

 

 

YOU ARE CHARGED WITH THE FOLLOWING VIOLATION

Date and Time of Offense (mm/ddiyyyy}

Wit-/2009 1612

Place of Offense

Light house

Offense Charged JXCFR GUSC 0 Stats Code

 

36 CFR 4,23 @)(2)

 

Offense Description: Factual Basis for Charge: HAZMAT o

Deivitg while intoxicated

MP 2015 84-6

DEFENDANT INFORMATION

Last Name

> PriAs SHEN

 

Tag No.

SLE KG NY

 

 

APPEARANCE IS REQUIRED

 

A_ JEL tt Box A is checked, you must

‘@ppear in court. See
instructions.

PAY THIS AMOUNT AT

www.cvb.uscourts.gov — La

   

Forfeiture Amount
+ $30 Processing Fee

 

 

Total Collateral Due

- YOUR COURT DATE

HW no court appearance date is shown wit ba notified af your a

 

 

My signature signifies that | have received a copy of this violation natics. It la not an admission of guilt. |
Promise to appear for the hearing at the Hime and place instructed or in lieu af appearance pay the tote!

cottateral due.
X Defendant Signature

 

. Ta

*E1117604*

  

  

STATEMENT OF PROBABLE CAUSE
(For issuance of an arrest warrant or summons)

i state that on Moveh wr If 20.20 while exercising my duties as a
law enforcement officer in the GAA A -Sty District of AsO alt

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2 The foregoing statement is based upon:

We — my personal observation }< my personal investigation
3 (] _ information supplied to me from my fellow officer's observation
(1 _ ather (explain above)

sectare under penalty of perury thet the Information which | have set forth above and on the
=face of this violation notice Is true and correct to the best of my knowledge.

S
F xecuted on: LAtAow Rr. y Bayt

= Date (mm/dd/yyyy) Officer's Signature

—_k

Probable cause has been stated for the issuance of a warrant.

a
Executed on:

 

Date (mm/ddiyyyy) —_‘U.S. Magistrate Judge

T = Hazardous material Involved in incident: PASS = 9 or more passenger vehicle;
= Commercial drivers license; CMW = Commercial vehicle involved in incident
9-FL L202/P0/L0 NVOS GAD

Case 2:21-mj-16045-ARM Document 1 Filed 02/11/21 Page 2 of 6 PagelD: 2

ICVB Location Code: NJ61

STATEMENT OF PROBABLE CAUSE

Violation Notice Number: £4447605 E1177 7to¢

I state that on November ik 2042 while exercising my duties as a law enforcement officer in the GN. AA- Juv

District of_Mbw Tort ty

While on foot patrol, | observed a male (Bruce F. SPRINGSTEEN) consume a shot of Patron tequila and then get on his motorcycle and
start the engine. | contacted SPRINGSTEEN and informed him alcohol is prohibited at Sandy Hook. The Patron bottle that the shot was
poured out of was completely empty (750 mL). | asked SPRINGSTEEN if he was leaving and he confirmed that he was going to drive out
of the park. SPRINGSTEEN claimed that he had two shots of tequila in the last 20 minutes. SPRINGSTEEN smelt strongly of alcohol
coming off his person and had glassy eyes. | ran SPRINGSTEEN through standardized field sobriety tests. | observed four out of six
clues on the horizontal gaze nystagmus test. SPRINGSTEEN was visibly swaying back and forth while | observed his eyes. | observed five

out of eight clues on the walk and tu

rm test. SPRINGSTEEN took 45 total steps during the walk and turn instead of the instructed 18. -

SPRINGSTEEN refused to provide a sample on the preliminary breath test.

The foregoing statement is based upon:

my personal observation

my personal investigation

[J _ information supplied to me from my fellow officer's observation

[J other (explain above)

| declare under penalty of perjury that the information which | have set forth above and on the face of this violation notice is true and

correct to the best of my knowledge.

Executed on: Be 1#/2020 x. ¥ 7 qu cg Ch
Date (mm/dd/yyyy) Officer's Signature ~

 

Probable cause has been stated for the issuance of a warrant,

Executed on:

 

Date (mm/dd/yyyy}

 

U.S. Magistrate Judge

HAZMAT = Hazardous material involved in incident, PASS = 9 or more passenger vehicle,

CDL = Commercial driver's license, CMV = C

ommiercial vehicle involved in incident.
United States District Court

Violation Notice (Rev. 1/2020)
Location Gada | Violation Number Officer Name (Print) Officer No.

N36) | E111 760512 pyr  losz76

YOU ARE CHARGED WITH THE FOLLOWING VIOLATION
Date and Tine of Offenss (mm/ddiyyyy) | Offense Charged JxCFR © USC cBinte Code

 

 

 

 

 

 

 

 

NW/ig/ oro "ie: | 36 CFR £2 WITA 39:44
LIGAt hose
Offense Description: Factual Basis for Charge HAZMAT o

RecklesS Driviy

 

 

2/11/21 Page 3 of 6 PagelD: 3

 

        

 

 

 

 

 

 

 

Q a!
3CFK NS [elven Reiser
= APPEARANCE IS REQUIRED APPEARANCE IS OPTIONAL =
GEA RT i Box Ais checked, you must 7B 0] ifBox Bis checked, you m the
we appear in court. See total collateral due or of payment
instructions. appear in court.
e $ Forfeiture Amount
$30 Processing Fea
oS. PAY THIS AMOUNT AT Zw
= www.cvb.uscourts.gov ya Total Collateral Due
+!
Ry YOUR COURT DATE
oe If rance date is shown, will be notified of
a Court Address
=
®»
ao

 

My signature signifies that | have received a copy of this viclation notice. Kt la not an admission of guilt |
Promise to appear for the hearing at the time and place instructed or in lieu of appearance pey the total

collateral due.

*E1117605*

 

STATEMENT OF PROBABLE CAUSE
(For issuance of an arrest warrant or summons)

| state that on WOVANer it, 20.40 -_ While exercising my duties as a
law enforcement officer in the _GWAAe Sha: District of Mov Termy

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

© the foregoing statement Is based upon:

Wiz my personal observation $< my personal investigation
en information supplied to me from my fellow officer's observation

2 (7) _ other (axpiain above)

declare under pensly of prtuy thatthe information which | have se orth above and on the
=e of this violation notice is true and corect to the best of my knowledge,

Srocuted on: L1//¢/2020 _ P ¥. Rag ld-
S Date (mm/dd/yyyy) ——_Officer’s Signature

Ferobable cause has been stated for the issuance of a warrant.

a
Executed on:

 

Date (mm/dd/yyyy) U.S. Magistrate Judge

HAZMAT = Hazardous material involved in incident: PASS = 9 or mora passenger vehicle:
COL = Commarcial drivers ficense; (CMV = Commercial vehicle involved in incident
9-VL LZ0Z/PO/LO NVOS GAD

Case 2:21-mj-16045-ARM Document1 Filed 02/11/21 Page 4 of 6 PagelD: 4

STATEMENT OF PROBABLE CAUSE

ig

 

|CVB Location Code: NJ61 Violation Notice Number: £1117605 |

I state that on N OVO ber [t 2020 while exercising my duties as a law enforcement officer in the GH RA - Sify:
District of _Asav Tole y.

While on foot patrol, | observed a male (Bruce F. SPRINGSTEEN) consume a shot of Patron tequila and then get on his motorcycle and
start the engine. | contacted SPRINGSTEEN and informed him alcohol is prohibited at Sandy Hook. The Patron bottle that the shot was
poured out of was completely empty (750 ml). | asked SPRINGSTEEN if he was leaving and he confirmed that he was going to drive out
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SPRINGSTEEN refused to provide a sample on the preliminary breath test. ,

The foregoing statement is based upon:

my personal observation [¥] my personal investigation

L] _ information supplied to me from my fellow officer's observation

1 © other (explain above)

| declare under penalty of perjury that the information which | have set forth above and on the face of this violation notice is true and
correct to the best of my knowledge. ;

Executed on:_I 1 /##/ 2020 . ¥ Hayts

Date (mm/dd/yyyy) Officer's Signature
Probable cause has been stated for the issuance of a warrant,

Executed on:

 

 

Date (mm/dd/yyyy) U.S. Magistrate Judge

HAZMAT = Hazardous material involved in incident, PASS = 9 or more passenger vehicle,
CBL = Commercial driver's license, CMV = Commercial vehicle involved-in incident.
2/11/21 Page 5 of 6 PagelD: 5

 

Q

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9b tel ADO MALIS

 

United States District Court

Violation Notice

(Rev. 1/2020)

 

Location Code | Violation Number

vs¢r | £1117606

 

 

Officer Name (Print)

f\. Hayes

Officer No.

 

7

 

YOU ARE CHARGED WITH THE FOLLOWING VIOLATION

  

NAkyaa0 '62

Place of Offense

Lieut loose

Offense Deacription: Factual Basis for Change

VIO of Oce bo!
NP 201s 84-46

DEFENDANT INFORMATION
Last Name

S Pri reS been

‘A CBI efor.

 

Date and Tine of Offenss {mmidd/yyyy) | Offense Charged PEFR OUSC 0 State Code

36 CFA 2.20 6)3Y617.

HAZMAT 0

  

 

Tag No.

3CFIKE NY

 

 

APPEARANCE ISREQUIRED | _
A SRD Box Ais checked, you must

appear in court. See
instructions.

PAY THIS AMOUNT AT

totai collateral due or in
appear in court. ‘!

 
  

  

 

 

www.cvb.uscourts.gov —~ a

‘YOUR COURT DATE

ince date Is shown, will be notified of

   

 

My signature signifies that | have received = copy of this violation notice. It is not an admission of guilt. |
promise to appear for the hearing at the time and place instructed or in lieu of appearance pay the total

collateral due.

 

*E1117606*

(EE

oS
Big xecuted on:
o
NO

STATEMENT OF PROBABLE CAUSE
(For Issuance of an arrest warrant or summons)

I state thaton NeVerter [#20 20 while exercising my duties as a
law enforcement officer in the GWAR-Jiv District of Hae Torey

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Othe foregoing staternant is based upon:

Wt my personal observation 5< my personal investigation

Br information supplied to me from my fellow officer's observation

2! other (explain above)

‘Friectare uncer penaity of perry thatthe formation which | have sal forth above end on the
S202 of this Violation notice Is true and correct to the best of my knowledge.

y
LAE/ 2090 £2 2 Hagttr

Date (mm/dd/yyyy)

 

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Brobable cause has been stated for the issuance of a warrant.

Pe xecuted on:

 

Date (mm/dd/yy) ‘U.S. Magistrate Judge

T = Hazardous material involved in incident; PASS = 9 of more passenger vehicie;
DL = Commercial drivers licanse: CMV = Commercial vehicle Involved In incident
Z-¥l b20¢/P0/L0 NVOS GAD

Case 2:21-mj-16045-ARM Document1 Filed 02/11/21 Page 6 of 6 PagelD: 6

STATEMENT OF PROBABLE CAUSE

 

 

ICVB Location Code: Ni61 (Violation Notice Number: E1117606 _|
| state that on Novae ter 1 , 2029 while exercising my duties as a law enforcement officer in the GNBA-Shy

District of Mow oer

While on foot patrol, | observed a male (Bruce F. SPRINGSTEEN) consume a shot of Patron tequila and then get on his motorcycle and
Start the engine. | contacted SPRINGSTEEN and informed him alcohol is prohibited at Sandy Hook. The Patron bottle that the shot was
poured out of was completely empty (750 mL), | asked SPRINGSTEEN if he was leaving and he confirmed that he was going to drive out
of the park. SPRINGSTEEN claimed that he had two shots of tequila in the last 20 minutes, SPRINGSTEEN smelt strongly of alcohol
coming off his person and had glassy eyes. | ran SPRINGSTEEN through standardized field sobriety tests. | observed four out of six

The foregoing statement is based upon:

my personal observation my personal investigation

C] information supplied to me from my fellow officer's observation

L-] — other (explain above)

| declare under penalty of perjury that the information which | have set forth above and on the face of this violation notice is true and
correct to the best of my knowledge.

Executed on:_[l//#/2920 RYH

Date (mm/dd/yyyy) Officer's Signature
Probable cause has been stated for the issuance of a warrant.

Executed on:
Date (mm/dd/yyyy) U.S. Magistrate Judge

 

HAZMAT = Hazardous material involved in incident, PASS = 9 or more passenger vehicle,
CDL = Commercial driver's license, CMV = Commerciat vehicle involved in incident.
